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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON

MEDFORD DIVISION
_ MARIO ROEDERER, )
Plaintiff,
Vv. Case No. 13 CV 1021
ADAM TREISTER, individually, and
TREE STAR, INC., an Oregon corporation; )
Defendants.

STIPULATED PROTECTIVE ORDER
Based on the stipulation of the Parties herein and good cause appearing, the Parties have
agreed on the following protective order regarding records that may contain confidential or
sensitive information, including but not limited to trade secrets:

GOOD CAUSE STATEMENT

The prosecution and defense of the claims in this action may require the discovery or
disclosure of documents, information or other material claimed by one or more of the Parties or
third parties to be non-public, personal financial or other confidential information, or involve
trade secrets and other valuable research, development, commercial, financial, technical and/or
proprietary information for which special protection from public disclosure and from use for any
purpose other than prosecution of this action is warranted. Accordingly, to expedite the flow of
information, to facilitate the prompt resolution of disputes over confidentiality of discovery
materials, to adequately protect information the Parties are entitled to keep confidential, to
ensure that the Parties are permitted reasonably necessary uses of such materials in preparation
for and in the conduct of trial, to address their handling at the end of the litigation, and serve the

ends of justice, a protective order for such information is useful and justified in this matter. It is

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the intent of the Parties and the Court that information will not be designated as confidential for
tactical reasons in this case and that nothing be so designated without a good faith belief that
there is good cause why it should not be part of the public record of this case. This Protective
Order is thus entered into for good cause shown.
TERMS OF PROTECTIVE ORDER

This Protective Order is intended to protect from disclosure documents and information
the Parties deem to be confidential in accordance with applicable law and rules. Documents and
information so designated may only be disclosed or used as further provided herein. Pursuant to
Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby stipulated by and among the
Parties to this Action, through their respective counsel and subject to the approval of this Court,

as follows:

1. In connection with pretrial discovery proceedings in this Action, a Party providing
or producing information in any form (“Producing Party”) to another Party (“Receiving Party”),
including documents and/or all materials within the scope of Federal Rule of Civil Procedure
Rule 34, electronically stored information (“ESI”), tangible things, written discovery responses,
answers to requests to admit, and testimony, may designate such items as “CONFIDENTIAL”
based on a good faith belief that such items are confidential under this Order and are not
otherwise in the public domain.

2. The designation “CONFIDENTIAL” shall be limited to information that the

Producing Party reasonably believes contains:

(a) Trade secret, intellectual property, or other confidential research,
development, or commercial information; and/or

(b) Personal information of a private or sensitive matter including, but not
limited to, nonpublic financial information regarding the Parties.

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3. All “CONFIDENTIAL” documents and/or all materials within the scope of Rule

34 of the Federal Rules of Civil Procedure, ESI, tangible things, written discovery responses,

answers to requests to admit, and testimony, along with items or portions thereof that are so

‘designated and the information contained in the documents and other materials:

Shall be disclosed, whether oral, written or otherwise, only to the extent permitted by this
Protective Order:

(a) Shall be used solely for the purpose of the preparation and trial of this
Action;

(b) Shall not be used, directly or indirectly, by any Party for any business,
commercial, or competitive purpose, and

(c) No person receiving such information shall, directly or indirectly, use,
transfer, disclose, or communicate in any way the information to any
person other than those specified in Paragraph 11. Any other use is
prohibited.

4. All copies, excerpts, summaries, compilations, testimony, conversations,
presentations, documents, or records that include, communicate, or reveal material designated
“CONFIDENTIAL” are themselves deemed to constitute confidential matters of the same type
whether or not marked or designated as such.

5. All documents claimed protected by any Party shall be designated as
“CONFIDENTIAL” by the Parties. All confidential documents shall be maintained in strict
confidence for the tise only by the Parties, their counsel of record, their direct employees
assisting in the action, court reporters, experts and consultants retained by the counsel of record
in connection with this action, and the Court.

6. In the course of pursuing such purposes, such material may be disclosed to any of

the following described Persons if, and only if, prior to any such disclosure occurring, the Person

to whom disclosure is contemplated, executes a Statement of Prospective Recipient of

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Confidential Material, attached hereto to as Exhibit A:

(a) A prospective deposition witness whose deposition has been noticed for a
period of at least ten (10) days in advance of the disclosure; and

(b) A Person who at the time of the disclosure is testifying at his/her
deposition or in a court proceeding in the Lawsuit;

(c) Experts, consultants and investigators who are retained on behalf of a
Party for purposes relating to the Action;

(dq) | Any Person described above who receives CONFIDENTIAL material
shall not (i) use such material for any purpose prohibited by this Stipulated
Protective Order or (ii) disclose any such material to any other person or
entity.

(e) An executed, original of each Statement of Prospective Recipient of
Confidential Material shall be retained by an attorney of record for the
Party on behalf of which CONFIDENTIAL material has been disclosed to
a Person described in Sub-Paragraphs (a) through (d).

(f) An attorney who has retained a Statement of Prospective Recipient of
Confidential Material executed by a person described above in Sub-
Paragraphs (a) through (d) shall, upon request, deliver a copy of each such
statement to the attorney for an adverse Party at the conclusion of this
Action.

7. Stamping the legends “CONFIDENTIAL” on the cover of any multi-page
document or ESI shall designate all parts of the document or ESI as such unless otherwise stated
by the Producing Party. The inadvertent failure to designate Confidential Information as
“CONFIDENTIAL” in accordance with this Protective Order prior to or at the time of disclosure
shall not operate as a waiver of the Producing Party’s right to thereafter designate such
information as confidential prior to trial. If documents or ESI are produced preliminarily for the
purpose of inspection and designation for copying and have not been marked “PRIVILEGED” or
“CONFIDENTIAL” before inspection by the Receiving Party, such inspection shall be made

only by counsel of record for the Receiving Party and the associates, paralegals, and secretaries

of said counsel who are actively engaged in assisting such counsel in this Action.

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8. In the event that any Party objects to the designation of any document or
information as “CONFIDENTIAL” the objecting Party shall provide written notice of the
objection to the Producing Party, specifying the materials that are the subject of the objection.
The Producing Party will have 7 business days to respond in writing. The Parties shall confer in
good faith in an effort to resolve the objection within ten days of the Producing Party’s written
response. Any documents in dispute shall be treated as originally designated pending resolution
by the Court.

9. Hither Party may also designate information as “FOR ATTORNEYS’ EYES ONLY,”
in which case such information may only be reviewed by counsel. Either Party may also
designate information as “FOR PROFESSIONALS’ EYES ONLY,” in which case such
information may only be reviewed by counsel or retained, non-party experts. All provisions of
this Agreed Protective Order. which apply to “Confidential Information” shall also aoly to
information produced as “FOR ATTORNEYS’ EYES ONLY” or “FOR PROFESSIONALS’
EYES ONLY,” except to the extent inconsistent with this paragraph 9.

10. Upon the termination of this action, the requesting party shall return the
documents marked “CONFIDENTIAL,” “FOR ATTORNEYS’ EYES ONLY” or “FOR
PROFESSIONALS’ EYES ONLY” to the other party or destroy the original and all copies of all
such aforementioned records obtained in the course of this action, with no copies retained.

11. Notwithstanding anything to the contrary which may be set forth herein, a party
may apply to the Court at any time for an order: (a) granting a modification of this Order; (b)
determining that the material designated as confidential should not be subject to this Order, and
(c) granting additional protective relief with respect to any confidential documents.

12. The clerk of the court is directed to maintain under seal all documents that are

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designated in whole or in part as “CONFIDENTIAL”.

13. All documents that have been designated as confidential will be placed in an
envelope that is marked “Confidential Subject to Protective Order — This Envelope Not to be
Opened Nor Contents Revealed Except by Order of the Court or by Agreement of the Parties.”
At the conclusion of the action, such documents will be placed in an envelope for disposition as
directed by the court or by agreement of the Parties.

14. Upon request of the Producing Party, within sixty (60) days after the final
disposition of all claims and defenses in this Action, by settlement or expiration of time to appeal
(“Final Disposition”), all documents designated as “CONFIDENTIAL” and all materials
produced by a Party that contain “CONFIDENTIAL” information, including all extracts,
reproductions, and summaries of such information, shall be destroyed or returned to counsel for
the Producing Party or its counsel. Such destroyed or returned materials shall include any pages
of the deposition transcripts containing confidential information, but counsel for the Producing
Party agrees to maintain a full set of deposition transcripts and exhibits containing confidential
information for a period of seven years following the Final Disposition. Such destroyed or
returned materials shall not include attorneys’ notes or work product. Counsel of record for the
Parties also shall be entitled to retain a set of all documents filed with the Court or presented at
trial, related Exhibits, a full set of non-confidential deposition transcripts, and all correspondence
generated in connection with this Action. Counsel for each Party shall certify that the provisions
of this Paragraph have been satisfied by sending opposing counsel a letter confirming
compliance within the sixty (60) day period. The Parties agree to direct the court reporters to

keep copies of the deposition transcripts.

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15. This Order shall apply to all Parties to this action, and the terms of this Order

shall survive and remain in full force and effect after the termination of this action. Any retained

experts shall be given a copy of this Order.

  

IT IS SO ORDERED this

ENTER:

 

 

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AGREED:
MARIO ROEDERER

/s/ Todd A. Rowden
One of His Attorneys

Todd A. Rowden

Raymond J. Stewart

Thomas J. Hayes

THOMPSON COBURN LLP

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& Weaver, LLP

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541.772.7123

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ADAM TREISTER and TREE STAR, INC.

/s/ Bernard S. Moore
One of Their Attorneys

Bernard S. Moore

Frohnmayer Deatherage Jamieson Moore
Armosino & McGovern, P.C.

2592 E. Barnett Road

Medford, OR 97504

541.779.9333

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Exhibit “A”
To
Stipulated Protective Order

Statement of Prospective Recipient of
Confidential Material

I, , hereby acknowledge and agree:

1. I have read the Stipulated Protective Order and I understand the terms of that
agreement, and I have been furnished a copy of that agreement for my records.

2. I understand that that agreement pertains to CONFIDENTIAL material furnished
in connection with proceedings in a lawsuit identified as: Mario Roederer v. Adam Treister and
Tree Star, Inc., pending in the United States District Court for the District of Oregon, Medford
Division as Case No. 13 CV 1021.

3. | anticipate becoming involved in proceedings related to that lawsuit and, as part
of the involvement, having material identified as CONFIDENTIAL being disclosed to me.

4. I hereby agree to be bound by the previsions of the Stipulated Protective Order
and to accord to all CONFIDENTIAL material the confidentiality and protection from disclosure
required by that agreement.

Ds I consent to the jurisdiction of the United States District Court for the District of
Oregon, Medford Division, for the sole purpose of enforcing the Stipulated Protective Order and
this Statement of Prospective Recipient of Confidential Material.

6. I agree that promptly following a request by any Party who furnishes to me any
CONFIDENTIAL material, I will deliver to that Party (i) all such material and (ii) all copies,
reproductions, extracts, abstracts, notes, and summaries of the contents of such material.

Fs I understand that a violation of the terms of the Stipulated Protective Order and
this Statement of Prospective Recipient of Confidential Material; might subject me to sanctions
for contempt of court or other sanctions.

8. The words and terms that are defined in the Stipulated Protective Order when
used in this Statement of Prospective Recipient of Confidential. Material shall have the same
meaning as they have in the Stipulated Protective Order.

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So agreed:

Dated:

Printed Name:

Name of
Employer:

Employer’s
Address:

Employer’s

Telephone No.

Residence

Telephone No.

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Pee oF ELD

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Signature:

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